Case 8:20-cv-02810-SCB-AAS Document 13 Filed 08/19/21 Page 1 of 1 PageID 54




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 ROBERT FEKERIS,

   Plaintiff,                                         CASE NO.: 8:20-cv-2810-SCB-AAS

 -vs-

 SYNCHRONY BANK,

   Defendant.
                                         /
                                        NOTICE OF SETTLEMENT

        Plaintiff, Robert Fekeris by and through the undersigned counsel, hereby notifies the Court that

he and Synchrony Bank have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release or documents. Upon execution of the same,

the parties will file the appropriate dismissal documents with the Court.

                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically

filed with the Clerk of the Court and furnished to all counsel of record by using the CM/ECF system

on this 19th of August, 2021.

                                                  /s/Frank H. Kerney, III, Esquire
                                                  Frank H. Kerney, III, Esquire
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